          Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 1 of 22




                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA et al.,

                     Plaintiffs,

   v.                                               Case No. 1:21-cv-11558-LTS

 AMERICAN AIRLINES GROUP INC. and
 JETBLUE AIRWAYS CORPORATION,

 Defendants.



               PLAINTIFFS’ MOTION FOR ENTRY OF FINAL JUDGMENT
                         AND PERMANENT INJUNCTION

                                         INTRODUCTION

        Defendants American Airlines and JetBlue Airways engaged in “a naked agreement not to

compete with one another.” United States et al. v. American Airlines Group, Inc. and JetBlue

Airways Corporation, Civil No. 21-11558, slip op. at 4 (D. Mass. May 19, 2023), ECF No. 344,

(“Opinion”, Dkt. 344). They entered into their anticompetitive agreement, called the Northeast

Alliance (“NEA”), with their eyes wide open to the antitrust risks involved and chose to implement

the agreement while they knew that the U.S. Department of Justice was investigating it. Opinion at

78-79; Pls’ PFOF ¶ 350, Dkt. 332. After a lengthy trial and review of an extensive record, the

Court ruled that the NEA “plainly violates Section 1 of the Sherman Act.” Opinion at 93.

        The Court thus permanently enjoined Defendants “from continuing, and restrained from

further implementing” the Northeast Alliance, effective 30 days from the May 19 order. After

finding that the NEA considered as a whole, not merely specific aspects of it, was anticompetitive,

the Court ordered the parties to submit a proposed order reflecting their joint or separate positions
          Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 2 of 22



on the language of the proposed permanent injunction. Opinion at 93. Attached as Exhibit 1 is

Plaintiffs’ Proposed Final Judgment (“PFJ”).1

       Plaintiffs’ PFJ provides the framework for terminating the illegal NEA and helps prevent

Defendants from committing the same or similar violations of the antitrust laws in the future.

There are three elements to the PFJ. First, it orders Defendants to terminate immediately most

provisions of the NEA Agreement and its related contracts to restore, as quickly as possible, the

competition that existed between American and JetBlue before formation of the NEA. Second,

Plaintiffs’ PFJ prevents American and JetBlue from re-forming the NEA, crafting similar

arrangements that harm competition in the same manner, and misusing the other Defendant’s

competitively sensitive information from the NEA through appropriately tailored “fencing-in”

relief. Finally, the PFJ appoints an antitrust compliance monitor to ensure that the Defendants

comply with the PFJ.

       Plaintiffs’ PFJ also instructs American and JetBlue to prevent undue disruption to travelers

arising from termination of the NEA. Having entered the illegal agreement, Defendants have the

burden to identify any temporary and narrowly tailored mitigation measures necessary to avoid

passenger disruption. Plaintiffs have engaged with Defendants over the past two weeks, and

through that process identified two areas where temporary measures are appropriate. The first,

identified in Plaintiffs’ initial proposal to Defendants, helps ensure that scheduled flights are not

affected by the injunction. The PFJ requires Defendants to fulfill the terms of tickets already issued

to travelers, and instructs Defendants to develop a plan, and to submit it to Plaintiffs and ultimately


1
  Plaintiffs base this submission on Defendants’ redline of Plaintiffs’ draft PFJ that Defendants
provided to the Plaintiffs on Monday, June 5, 2023. The Plaintiffs shared draft PFJs with the
Defendants on May 31, June 7, and June 8. Defendants represented to Plaintiffs during a meet and
confer today, June 9, that they had no substantive changes to their June 5 draft redline. Defendants
then sent a revised version containing substantive changes at 5:09 pm on June 9. Plaintiffs’
submission does not respond to substantive changes included in Defendants’ revised version.
                                                  2
          Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 3 of 22



to the Court, for winding down slot and gate leases by a date certain in a way that minimizes

disruption to travelers. Second, Defendants have represented that they require up to thirty days to

terminate the Frequent Flyer Agreements without disruption due to certain information technology

limitations. Defendants have identified no other temporary and narrowly tailored mitigation

measures that are necessary, instead seeking to indefinitely maintain the codeshare and Frequent

Flyer Agreements. Such a result would be contrary to this Court’s order to end the NEA, and

would fail to restore the benefits of competition for the traveling public.

       Overall, as directed by the Court, Plaintiffs’ PFJ permanently enjoins the illegal NEA

agreement, which protects travelers from further suffering the consequences of Defendants’ risky

decision to enter this plainly anticompetitive pact.

I.     The Court Possesses Broad Authority to Remedy Antitrust Violations and Prevent
       Future Violations

       A permanent injunction in an antitrust case must serve three key functions: (1) ending the

violation; (2) preventing a recurrence of the same or similar violation; and (3) restoring competition

in the market. Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 697 (1978); Ford Motor

Co. v. United States, 405 U.S. 562 573 (1972); United States v. E.I. du Pont de Nemours & Co., 366

U.S. 316, 326 (1961); see also Int’l Salt Co. v. United States, 332 U.S. at 401 (stating end to be

served in equity suit not “merely to end specific illegal practices.”) (emphasis added). After finding

a violation of the antitrust laws, a trial court “has the duty to compel action by the conspirators that

will, so far as practicable, cure the ill effects of the illegal conduct, and assure the public freedom

from its continuance.” United States v. U.S. Gypsum Co., 340 U.S. 76, 88 (1950). It is not enough

simply for a permanent injunction to return the markets back to their status quo ante. Ford, 405

U.S. at 573 n.8.




                                                    3
          Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 4 of 22



       “[I]t is well settled that once the Government has successfully borne the considerable

burden of establishing a violation of law, all doubts as to the remedy are to be resolved in its favor.”

du Pont, 366 U.S. at 334; see also F. Hoffman-La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 170

– 71 (2004) (quoting same). “[C]ourts are authorized, indeed required, to decree relief effective to

redress the violations, whatever the adverse effect of such a decree on private interests.” du Pont,

366 U.S. at 326. If a permanent injunction in a successful antitrust challenge brought by the United

States fails to attain the key functions of an injunction, “the Government has won a lawsuit and lost

a cause.” Int’l Salt Co., 332 U.S. at 401.

       In meeting the three key functions, the Court is not limited to entering a permanent

injunction that only ends the exact violation it found and prevents its exact recurrence. The Court

is “invested with large discretion to model [its] judgments to fit the exigencies” of the case. United

States v. Int’l Salt Co., 332 U.S. 392, 400 – 01 (1947) (abrogated on other grounds). “[A] mere

prohibition of the precise scheme would be ineffectual to prevent restraints.” United States v.

Bausch & Lomb Optical Co., 321 U.S. 707, 727 (1944). For instance, the permanent injunction

may ban other ways to achieve the same violation that the Court found. “When the purpose to

restrain trade appears from a clear violation of law, it is not necessary that all of the untraveled

roads to that end be left open and that only the worn one be closed.” Nat’l Soc’y of Prof’l Eng’rs,

435 U.S. at 698 (citing Int’l Salt Co., 332 U.S. at 400).

       The Court can also enjoin actions other than those found illegal, both to prevent Defendants

from committing the same or similar violations and to undo the consequences of the antitrust

violation it found. The Court “has broad power to restrain acts which are of the same type or class

as unlawful acts which the court has found to have been committed or whose commission in the

future, unless enjoined, may fairly be anticipated from defendant[s’] conduct in the past.” Brown v.

Trustees of Boston Univ., 891 F.2d 337, 361 n.23 (1st Cir. 1989) (quoting NLRB v. Express Pub.
                                                    4
          Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 5 of 22



Co., 312 U.S. 426, 435 (1941)). Violators of the antitrust laws “must expect some fencing in” of

their activities. See Otter Tail Power Co. v. United States, 410 U.S. 366, 381 (1973). This “fencing

in” of future activities may include acts connected with those the Court found illegal, even if those

acts when viewed alone may otherwise be proper acts. U.S. Gypsum, 340 U.S. at 88 – 89. “Equity

has power to eradicate the evils of a condemned scheme by prohibition of the use of admittedly

valid parts of an invalid whole.” United States v. Bausch & Lomb Optical Co., 321 U.S. 707, 724

(1944). Future fencing in can also extend to prohibiting a Defendant from entering deals with third

parties similar to ones the Court found to have violated the antitrust laws. Zenith Radio Corp. v.

Hazeltine Research, Inc., 395 U.S. 100, 132 – 33 (1969) (barring violator of Section 1 of Sherman

Act from conspiring with others beyond co-conspirator in the case and in markets other than market

subject of the initial conspiracy).

II.    The PFJ Accomplishes the Three Goals of Permanent Injunctive Relief

       Plaintiffs’ PFJ satisfies the Court’s order permanently enjoining American and JetBlue’s

violation of Section 1 of the Sherman Act. The Plaintiffs’ PFJ ends the violation by prohibiting

Defendants from partnering with one another as they have under the NEA, forcing them instead to

be the “vigorous, arms-length rivals” that they were before they created the NEA. Opinion at 4, 24,

29, 68. Forward-looking provisions forestall Defendants from repeating their violation by forming

similar partnerships that clearly threaten the same harm to competition as the NEA; for instance, by

prohibiting revenue sharing or coordination on routes or capacity. Similarly, Plaintiffs’ PFJ

requires the Defendants to provide notice to the Plaintiffs before entering new partnerships with

each other or with other domestic airlines. Collectively, these provisions close off the “untraveled

roads” to the same type of antitrust violations the Defendants committed through the NEA. See,

e.g., Nat’l Soc’y of Prof’l Eng’rs, 435 U.S. at 698 (citing Int’l Salt Co., 332 U.S. at 400).

Moreover, the PFJ puts in place protections that restrain Defendants from diluting the competition
                                                   5
          Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 6 of 22



that existed before their partnership, or continuing to benefit from their unlawful agreement, by

prohibiting the use of each other’s sensitive business information learned during the course of the

NEA.

       A.      The PFJ Terminates Most Provisions of the NEA Upon the Effective Date

       Section III of the PFJ identifies required conduct that the Defendants must undertake.

Section III.A requires the Defendants to terminate the NEA Agreement and all of its related

contracts on the Effective Date of the PFJ, with limited exceptions discussed below.2 Terminating

these contracts will end—immediately—American and JetBlue’s NEA relationship that includes

“codesharing, schedule coordination, revenue sharing, reciprocal loyalty benefits, and joint

corporate customer benefits” for Defendants’ flights out of the NEA airports. Opinion at 21. By

requiring termination of the agreements, the PFJ serves the goals of ending the violation and begins

the process of eliminating its consequences.

       Section III.B requires the Defendants to cease all of the activities governed by the NEA

Agreement on the Effective Date. Particularly, Section III.B requires American and JetBlue to stop

“all coordination of schedules and routes, and any efforts to allocate markets.” The Court found

that coordination of schedules and the related allocation of routes to either American or JetBlue as

one of the NEA’s “core features.” Opinion at 73. “This is a straightforward example of market

allocation.” Id. As such, there is no plausible rationale for Defendants to continue this activity.

Section III.B mandates that the Defendants immediately cease any forward-looking coordination,

while not disturbing flights already scheduled under the existing arrangement. This provision




2
  Under Section I.H, in the Definitions, the Effective Date is the later date of (i) seven (7) days
following the date of entry of the Permanent Injunction, or (ii) seven (7) days following the end of
any stay of the Permanent Injunction.
                                                  6
             Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 7 of 22



attempts to protect those travelers who have already booked travel on Defendants’ existing

schedules.

        Section III.C requires the Defendants to cease all activities governed by the MGIA, which

predominantly addresses revenue sharing between Defendants. The Court found that the purpose

of the MGIA is to align American and JetBlue’s incentives and achieve metal neutrality—rendering

them indifferent to which of them a traveler chooses. Opinion at 22. The Court also found

“overwhelming evidence” that the NEA has successfully rendered Defendants metal neutral and

eliminated “the incentive to fight for revenue and customers,” which is “a hallmark of a free

market.”” Id. at 69. Like coordination of schedules and routes, metal neutrality facilitated by the

MGIA is a key aspect of the NEA. Id. at 22. Ending metal neutrality upon the Effective Date will

help restore both American’s and JetBlue’s financial incentive to compete against each other to win

travelers.

        Sections III.E, III.F, and III.G require the Defendants to cease their activities upon the

Effective Date or the Frequent Flyer Cutoff Date3, respectively, under the other contracts related to

the NEA Agreement: the Codeshare Agreement, the Frequent Flyer Agreements, and the BSPA.

These provisions will arrest Defendants’ efforts to integrate their businesses while allowing them to

provide uninterrupted service as they develop a plan to fulfill their obligations to customers as

independent competitors. For example, while immediately stopping Defendants from continuing to

sell tickets on each other’s flights under the Codeshare Agreement, Section III.E requires the

Defendants to honor tickets purchased pursuant to the Codeshare Agreement before the Effective

Date. Section III.F contains a similar provision related to frequent flyer reciprocity, permitting


3
 Under Section I.K, in the Definitions, the Frequent Flyer Cutoff Date is the later of (i) thirty (30)
days following the date of entry of this Permanent Injunction, or (ii) thirty (30) days following the
expiration of any stay of this Permanent Injunction entered by this Court or any appellate court of
competent jurisdiction.
                                                  7
            Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 8 of 22



Defendants to honor loyalty rewards accrued before the Frequent Flyer Cutoff Date. These

provisions cure the ill effects of Defendants’ violation, U.S. Gypsum, 340 U.S. at 88, and enable

Defendants to minimize disruption to travelers despite their lack of planning for this foreseeable

outcome.

       B.       Defendants’ Insistence on Preserving the Codeshare Agreement and Frequent
                Flyer Agreement is an Attempt to Re-Litigate the Case

       Defendants have proposed an injunction to Plaintiffs that fails to terminate the NEA’s

Codeshare Agreement, Frequent Flyer Agreements, and BSPA. The Court found that the NEA

considered as a whole, not merely specific aspects of it, was anticompetitive and illegal; allowing

portions of the NEA to remain in place indefinitely would provide incomplete relief. These

contracts each govern part of Defendants’ relationship under the NEA and are explicitly designated

as related to the umbrella NEA Agreement. Opinion at 21. Defendants now seek to leave some of

the contracts governing the NEA in place despite telling the Court that the contracts are inextricably

linked. See e.g., Defs’ Proposed Findings of Fact at ¶ 498 (“Without revenue sharing, it is unlikely

that American and JetBlue would agree to codesharing alone.”); id. at ¶ 159 (“The NEA was

established through several agreements, which together create a relationship . . .”).

       The Court should reject Defendants’ invitation to craft a new “NEA Lite” on the fly. After

choosing to enter the most extensive partnership they contemplated—a partnership with an

unprecedented level of coordination and known antitrust risk—Defendants are asking the Plaintiffs

and the Court to bless a different partnership, in a matter of days, simply because it lacks some of

the most brazen features of the NEA. See Opinion 15. Defendants must abandon their

entanglements and return to being fully independent competitors to remedy their unlawful

distortion of airline competition in the Northeast and beyond. Even if individual contracts that are

part of an overall anticompetitive scheme might be “otherwise valid,” the proper remedy is for all


                                                  8
          Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 9 of 22



of them to be cancelled “in order that the ground may be cleansed effectually from the vice of the

former illegality.” Bausch & Lomb Co., 321 U.S. at 724 (citations omitted). If Defendants later

wish to propose a new, more limited agreement involving codesharing or frequent flyer reciprocity,

the injunction provides a process for them to do so and for those proposals to be considered

thoughtfully and in due course. See PFJ Sections IV.B and V.

       Even if the Court were inclined to take on the unreasonable task of quickly deciding the

legality of a less expansive partnership incorporating parts of the NEA, the record in this case does

not support the conclusion that these agreements are competitively innocuous. For instance, the

Court found that, unlike some other codeshares, the codeshare agreement in the NEA includes

routes on which both partners offered competing direct nonstop service, compromising their status

as independent competitors in such markets. See Opinion 16-17, 42 & n.57. Moreover, the Court

found that a “spirit of partnership” has developed between American and JetBlue that diminishes

competition between them. Opinion at 24 & n.30, 41. Even after paring back the NEA,

Defendants might still have a strong interest in ensuring their proposed partnership succeeds over

the long term, and that “spirit of partnership” may continue to diminish competition.

       While Defendants claim that keeping the codesharing and frequent flyer reciprocity

agreements in place is necessary to avoid consumer disruption, they have not identified any

meaningful way in which Plaintiffs’ PFJ would actually disrupt travel consumers have already

booked. Indeed, as explained above, Plaintiffs’ PFJ requires Defendants to honor tickets already

purchased pursuant to the Codeshare Agreement. Over the past two weeks, Plaintiffs have

repeatedly offered to consider other temporary measures that the Defendants identify, in writing, as

necessary to reduce the risk of disruptions to passengers if Defendants certify that there are no other

ways to avoid those disruptions. Through this dialogue, the only issue that Defendants raised was

that certain IT limitations could interfere with Defendants’ ability to quickly terminate the Frequent
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         Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 10 of 22



Flyer Agreements. In response to this concern, Plaintiffs’ PFJ permits the Frequent Flyer

Agreements to continue for thirty days after entry. Defendants have not proposed any other

temporary measures to avoid disruption. Rather, Defendants seek to retain the Codeshare

Agreement and Frequent Flyer Agreements indefinitely, effectively re-litigating whether the NEA is

good for consumers.

       C.      The PFJ Prevents Recurrence of the Illegal Behavior and Appropriately
               “Fences In” Further Misconduct

       Sections III.H and III.I prohibit the Defendants from entering future arrangements with each

other and with other domestic airlines, respectively, that feature revenue sharing or coordination of

routes or capacity, similar to the NEA. The bar against the Defendants entering such an

arrangement among themselves lasts ten years, a common length of time for antitrust decrees. The

prohibition against either airline entering into partnerships with other domestic airlines featuring

revenue sharing or coordination of routes or capacity like the NEA expires in two years.4 These

provisions appropriately “fence in” Defendants’ ability to engage in conduct similar to the NEA.

Cf. Otter Tail, 410 U.S. at 381 (recognizing that district court’s decree fencing in future, similar

predatory conduct was appropriate to remedy Section 2 violation). The Court found that

Defendants proceeded with forming the NEA despite recognizing that similar arrangements

between domestic and international airlines require antitrust immunity. Opinion at 78. American

and JetBlue executives’ willingness to proceed despite this foreknowledge counsels for measures to

stop Defendants from constructing the same or slightly tweaked versions of the NEA’s revenue

sharing or coordination in the future. The curb on Defendants’ activities in Sections III.H and III.I

is particularly appropriate in light of the Court’s findings that Defendants are “powerful



4
 Definition G in the PFJ lists the specific other domestic airlines covered by this provision.
Specifically, all non-regional airlines in the United States are included.
                                                   10
         Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 11 of 22



competitors” in a “highly concentrated” industry, and that the revenue sharing and the coordination

of routes or capacity are “core” and “cornerstone” features of the NEA. Opinion at 3, 22, 73.

       Defendants oppose Section III.I because it covers Defendants’ agreements with other

airlines, and not only with one another, but enjoining Defendants from engaging in similar conduct

with other would-be conspirators is appropriate relief. See Zenith Radio Corp. 395 U.S. at 132 – 33

(barring violator of Section 1 from conspiring with others beyond co-conspirator). Before either

Defendant makes any attempt to enter into a potential new partnership that could risk similar

competitive effects as the NEA, there should be a “cooling off” period to give time for the NEA to

fully unwind, for Defendants to resume their full-throated competition, and for the competitively

sensitive information that each Defendant’s employees retain about the other Defendant’s business

and strategies to become stale. Section III.I is narrowly tailored to this objective, applying only for

two years, only to agreements with an enumerated list of domestic carriers,5 and only to agreements

that involve revenue sharing or capacity coordination “substantially similar” to the NEA.

       Section III.J restricts how each Defendant treats Competitively Sensitive Information6 with

respect to the other airline. The Court found that under the NEA, American and JetBlue functioned

as a single airline in the Northeast as much as possible. Opinion at 29. Such an arrangement

requires the flow of Competitively Sensitive Information between the two airlines that would not

otherwise occur among competing airlines. Opinion at 15 & n.15 (citing understanding of




5
  The notice requirement does not apply to regional airlines, that is, small airlines that typically
operate the bulk of their flights on behalf of a mainline carrier.
6
  Section I.E defines Competitively Sensitive Information as “any non-public information of
Defendants relating to scheduled air passenger services, including without limitation non-public
information relating to network plans, pricing or pricing strategies, frequent flyer programs,
corporate customer negotiations, tactics or strategy, costs, revenues, profits, margins, output,
marketing, advertising, promotion, or research and development.”
                                                   11
            Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 12 of 22



Southwest Airlines executive that discussing network planning with another airline would be

illegal).

        The injunctive relief would not “assure the public freedom from [the restraint’s]

continuance,” U.S. Gypsum, 340 U.S. at 88, if Defendants were permitted to continue to make use

of the fruits of their illegal agreement, including Competitively Sensitive Information about one

another’s business strategies. The Plaintiffs and the Court lack full transparency into the flow of

Competitively Sensitive Information between the Defendants since the genesis of the NEA,

especially after the close of discovery in the case. As a result, Section III.J avoids attempting to

regulate the flow of Competitively Sensitive Information. Instead, it simply prohibits the

Defendants from sending, receiving, requesting, or otherwise communicating Competitively

Sensitive Information with each other. It also bars Defendants from using any Competitively

Sensitive Information they obtained from each other during the course of the NEA.7 Moreover,

Section III.J expressly prohibits each Defendant’s personnel from disclosing Competitively

Sensitive Information they obtained from the other Defendant. Section III.J provides narrow

exceptions to these prohibitions to permit the Defendants to fulfill existing tickets and to comply

with the PFJ, other court order, law, or regulation.

        D.      The PFJ Protects Travelers During the Wind Down of the NEA

        Section III.D addresses the continuity of service based on Defendants’ slot and gate leases

under the NEA. Section III.D seeks to ensure that travelers face as little disruption as possible to

previously booked travel. To that end, Section III.D allows the Slot Lease Agreements and sharing



7
  Section IV.A.b also provides another layer of protection for confidential information, albeit an
incomplete one, by allowing the provisions of the NEA Agreement dealing with treatment of
confidential information to survive termination of the NEA. PX0001-a at 14 – 15. This provision
is insufficient to protect against the inappropriate flow of confidential information on its own,
however, because only the Defendants would possess the ability to act upon any breaches.
                                                    12
         Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 13 of 22



of gates or other ground facilities to continue temporarily until a subsequent order of the Court. In

the interim, Section III.D requires the Defendants to submit to Plaintiffs a proposed wind-down

plan for terminating Slot Lease Agreements and agreements on the use of gates and other ground

facilities. This step is necessary because Plaintiffs lack complete post-discovery information on the

exchange of slots and gates between the Defendants. Plaintiffs also lack complete information on

the extent to which each Defendant’s Boston and New York schedules in the near future rely on

using slots or gates obtained from the other Defendant under the NEA and the wind-down timeline

needed for Defendants to be able to mitigate any passenger disruption that would be caused by

terminating these leases.8 Section III.D enables Defendants to fly already scheduled flights that

travelers have relied upon in planning upcoming summer travel, but requires Defendants to put in

place a concrete plan for disentangling American and JetBlue slot and gate sharing at NEA airports.

Section III.D requires the Parties to submit to the Court their respective positions on winding down

the Slot Lease Agreements and gate lease agreements within 45 days of the Effective Date of the

PFJ.

       The PFJ also builds on the termination provisions on the NEA Agreement itself, reflecting

Defendants’ own choices about how to wind down their partnership and minimize the resulting

impact on their customers. Section IV.A specifies that certain portions of the NEA Agreement that

address winding down the partnership and that are focused on preventing disruption or harm to

passengers shall survive its termination. Specifically, Section IV.A.a requires Section 5.11 of the

NEA Agreement to survive, obligating Defendants to minimize customer disruptions as a result of


8
  Determining how to untangle their operations in a timely and efficient manner should not pose
significant difficulties for Defendants. Defendants’ contracts always contemplated the possibility
of termination, including simply for the convenience of the parties. PX0001-a at 7-8 (providing for
termination for convenience on only 60 days’ prior written notice). Dr. Carlton, one of Defendants’
experts, testified that because the NEA is not literally a merger, there was not a significant concern
with “unscrambling the egg” if the NEA were later found to be illegal. Tr. Day 16, 18:4 – 8.
                                                   13
         Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 14 of 22



termination. PX0001-a at 13. Provisions relating to confidentiality and customer privacy also

survive. Requiring these limited provisions of the NEA Agreement to survive assists in protecting

travelers from the fallout of unwinding Defendants’ anticompetitive partnership.

       E.      Notice Requirements Will Facilitate Antitrust Review of Any Future
               Partnerships by Defendants

       Section V requires the Defendants to provide notice to the Plaintiffs of any new agreements,

partnerships, or joint ventures they enter with each other or with other domestic airlines. The

notice requirement for Defendants’ agreements, partnerships, and joint ventures with each other,

Section V.A, expires after ten years. The notice requirement for such arrangements with other

domestic airlines expires after five years. Section V.C requires the Defendants to provide the

Plaintiffs with information about such agreements, partnerships, or joint ventures to facilitate

antitrust analyses by the Plaintiffs. This limited information is a subset of information parties are

required to provide under the Hart-Scott-Rodino Act, 15 U.S.C. § 18a, for reportable mergers and

acquisitions. Section V.D requires Defendants to pause implementing or putting into effect any

agreements, partnerships, or joint ventures if the United States seeks additional information about

the arrangement. The pause would continue until sixty days after the Defendant has provided any

additional information the United States seeks through a Civil Investigative Demand.

       Defendants propose to omit the requirement to provide notice to the Plaintiffs of their

transactions with other domestic airlines.9 Defendants’ demonstrated track record of proceeding

with the NEA despite understanding the meaningful antitrust risks, however, illustrates the

necessity of providing antitrust authorities advance notice. Plaintiffs are not requesting a

categorical ban on any agreements with other domestic airlines; Section V.B merely creates a



9
 Defendants have not indicated that they object to Section V.A requiring them to provide Plaintiffs
notice of transactions between each other.
                                                14
         Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 15 of 22



mechanism for Plaintiffs to assess such agreements before they go into effect, to avoid ending up in

the similar predicament of needing to unwind an unlawful combination. See Gypsum, 340 U.S. at

90 (enlarging scope of injunction beyond the violation given “close similarity” between violation

and other anticompetitive conduct using the same mechanism); Zenith Radio Corp. 395 U.S. at 132

– 33.

        Section V.E provides a small exception to these notice requirements for short-term

agreements to share infrastructure at airports, which are common. This paragraph also permits the

United States to create additional exceptions to the notice requirements, for example if the United

States determines that a certain type of agreement that Defendants are frequently reporting is highly

unlikely to raise concerns.

        F.     Appointing a Monitor Is Appropriate

        Under Section VI, the Court will appoint a monitoring trustee to oversee the Defendants’

compliance with the other terms of the PFJ. Appointment of a monitoring trustee is appropriate

here to ensure that the NEA is unwound promptly and that Defendants are not misusing

Competitively Sensitive Information obtained while they were implementing the NEA.

        There is “considerable room” for appointing monitors when the purpose of doing so is “to

enforce a judicial decree.” Cronin v. Brower, 90 F. Supp. 2d 364, 377 (S.D.N.Y. 2000). The power

of a federal court to appoint a monitor to supervise the implementation of its decree has long been

established and exercised, including in this district. See, e.g., Picker Int’l Corp. v. Imaging Equip.

Servs., Inc., 931 F. Supp. 18, 45 (D. Mass. 1995) (appointing monitor based on the court’s “inherent

power to appoint a person to assist it in administering a remedy”); U.S. Commodity Futures Trading

Comm’n v. Kim, No. 11-CV-1013 (DLC), 2011 WL 1642772 (S.D.N.Y. Apr. 15, 2011); FTC v. John

Beck Amazing Profits, LLC, No. 2:09-CV-4719, 2009 WL 7844076 at *15 (C.D. Cal. Nov. 17,



                                                  15
           Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 16 of 22



2009); In re The Reserve Fund Sec. & Derivative Litig., 673 F. Supp. 2d 182, 210 (S.D.N.Y.

2009).10

       This precedent for court-ordered outside oversight extends to corporations found to have

violated the antitrust laws. For example, the court appointed an antitrust compliance monitor as

part of the injunctive relief against Apple after finding Apple violated Section 1 of the Sherman

Act. United States v. Apple, Inc., 992 F. Supp. 2d 263, 280 (S.D.N.Y. 2014). Courts have also

appointed monitors to oversee the unwinding of illegal consummated mergers. E.g., United States

v. Bazaarvoice, Inc., No. 13-cv-00133-WHO, 2014 WL 203966 (N.D. Cal. Jan. 8, 2014).

       A monitoring trustee is similarly appropriate here. The appointment of a monitor is proper

“‘when a complex decree requires administration or complex policing, particularly when a party

has proved resistant or intransigent or special skills are needed.’” United States v. Vulcan Soc’y,

Inc., No. 07-CV-2067 (NGG)(RLM), 2010 WL 2160057, at *4 (E.D.N.Y. May 26, 2010) (quoting

9C Wright & Miller, Federal Practice & Procedure § 2602.1 (3d ed. 2008)). Although the NEA is

not a merger, its “effects resemble those of a merger of the parties’ operations within the northeast,”

Opinion at 28, and so unwinding this agreement can benefit from the oversight of a monitor just as

in unwinding mergers. More generally, the “unusual complexity” of this case, Opinion at 5,

counsels in favor of a monitor who can undertake the laborious task of sufficiently learning the

details of Defendants’ operations to ensure they are meeting their obligations to end the NEA as

expeditiously as possible while minimizing disruption to travelers. American’s shifting and

contradictory positions on whether it operates a hub in New York Opinion at 14 n.14, illustrates the

types of challenges that may arise in seeking Defendants’ compliance with the PFJ.


10
  Such court-appointed agents have been identified by a “plethora of titles: ‘receiver,’ ‘Master,’
‘Special Master,’ ‘master hearing officer,’ ‘monitor,’ ‘human rights committee,’ ‘Ombudsman,’ and
others. The function is clear, whatever the title.” Ruiz v. Estelle, 679 F.2d 1115, 1161 (5th Cir.
1982). This brief uses the term “monitor” when discussing case law that uses any such title.
                                                   16
         Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 17 of 22



       A monitoring trustee will help to ensure that the Defendants comply with these obligations,

without requiring significant costs on the part of the Plaintiffs or this Court. Instead, those costs

will be borne by the Defendants, who, as the wrongdoers, are the appropriate parties to bear them.

See, e.g., Alberti v. Klevenhagen, 46 F.3d 1347, 1363-64 (5th Cir. 1995) (party that is the “primary

cause” of harm should bear costs of monitor).

                                           CONCLUSION

       For the reasons outlined above, Plaintiffs request the Court enter Plaintiffs’ PFJ.




                                                   17
       Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 18 of 22



Dated: June 9, 2023                        Respectfully submitted,

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                                      18
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                               19
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                               20
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                               21
        Case 1:21-cv-11558-LTS Document 353 Filed 06/09/23 Page 22 of 22




                            LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that I conferred with counsel for

Defendants in a good faith effort to resolve or narrow the issues presented in this motion prior to

filing. Defendants confirmed that they opposed the motion.


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                                                22
